

Matter of Terry L.M. (2020 NY Slip Op 02433)





Matter of Terry L.M.


2020 NY Slip Op 02433


Decided on April 24, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 24, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., NEMOYER, TROUTMAN, WINSLOW, AND BANNISTER, JJ.


437CA 19-00505

[*1]TERRY L.M., PETITIONER-APPELLANT, FOR THE APPOINTMENT OF A GUARDIAN OF THE PERSON OR PROPERTY OF MARY L.M., RESPONDENT-RESPONDENT. CENTER FOR ELDER LAW &amp; JUSTICE, RESPONDENT. (APPEAL NO. 1.)






MATTHEW ALBERT, BUFFALO, FOR PETITIONER-APPELLANT. 
CENTER FOR ELDER LAW &amp; JUSTICE, BUFFALO (BRADLEY LOLIGER OF COUNSEL), FOR RESPONDENT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Christopher J. Burns, J.), entered March 14, 2019. The order, inter alia, authorized the sale of certain real property. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: April 24, 2020
Mark W. Bennett
Clerk of the Court








